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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                               No. 14-533V
                                        (Filed September 15, 2014)
                                        NOT TO BE PUBLISHED

*************************
JOHN NAZAKA,                *
                            *                                    Special Master Corcoran
                Petitioner, *
                            *
          v.                *                                    Entitlement; On-Table Injury; Conceded
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

Maximillian J. Muller, Philadelphia, PA, for Petitioner.

Debra Begley, U.S. Dep’t of Justice, Washington, D.C., for Respondent.

                                  RULING FINDING ENTITLEMENT1

        On June 23, 2014, Petitioner John Nazaka filed a petition seeking compensation under
the National Vaccine Injury Compensation Program.2 Petitioner alleges that he suffered from
Parsonage-Turner Syndrome (also known as brachial neuritis (“BN”)) as a result of receiving the
tetanus, diphtheria, and acellular pertussis (“Tdap”) vaccine on September 10, 2013.


1
  Because this ruling contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the ruling will be available to the public.
Id.

2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006)) [hereinafter “Vaccine Act” or “the Act”].
Individual sections references hereafter will be to ' 300aa of the Act.
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       In the Rule 4(c) Report, Respondent stated that the Petitioner’s claim is compensable
under the Act. Respondent specifically stated that the Division of Vaccine Injury Compensation
(DVIC), Department of Health and Human Services, has reviewed the facts of this case and has
concluded that the Petitioner is entitled to a presumption of causation, and has established a Table Injury
(see § 300aa-13(a); 42 C.F.R. § 100.3 (a)(I))) because “he has demonstrated that he suffered from BN,
and the first symptom of his BN manifested two to twenty-eight days after receiving his Tdap
vaccination” and “DVIC has determined that there is not a preponderance of evidence that the BN
is due to factors unrelated to the vaccine.” Rule 4(c) Report at 1. Additionally, the Rule 4(c)
Report acknowledges that Petitioner has satisfied all the other legal prerequisites for
compensation under the Vaccine Act. Id. at 4. Respondent therefore concludes that Petitioner is
entitled to an award of damages.

        In view of Respondent’s concession, and based on my own review of the record (See §
300aa-13(a)(1); 42 C.F.R. § 100.3 (a)(I)), I find that Petitioner is entitled to compensation for an
injury that was caused-in-fact by a covered vaccine. 42 C.F.R. §§ 100.3(a)(XIV), 100.3(b)(2). A
separate damages order will issue shortly.

        Any questions may be directed to my law clerk, Ashley Yull, at (202) 357-6391.

    IT IS SO ORDERED.

                                                                  /s/ Brian H. Corcoran
                                                                    Brian H. Corcoran
                                                                    Special Master




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